[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                             JUDGMENT ENTRY.
{¶ 1} This appeal is considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, and this Judgment Entry shall not be considered an Opinion of the Court pursuant to S.Ct.R.Rep.Op. 3(A).
{¶ 2} Plaintiff-appellant, Information Leasing Corporation ("ILC"), appeals a judgment of the Hamilton County Court of Common Pleas dismissing its breach-of-contract action against defendants-appellees, Hyman Brothers, Inc., dba The Pawn Advantage, and Alan Hyman. This court addressed the same issues raised in this case in Information LeasingCorp. v. Baxter, 1st Dist. No. C-020029, 2002-Ohio-3930, which is factually undistinguishable. Consequently, on the authority of Baxter, we sustain ILC's two assignments of error, reverse the trial court's judgment and remand the case for further proceedings.
{¶ 3} Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Painter, P.J., Doan and Hildebrandt, JJ.